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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                              MIAMI DIVISION
                               CASE NO. 18-CV-20818-DPG
     3

     4   PDVSA US Litigation Trust,                   Miami, Florida

     5          Plaintiff,                            March 5, 2018

     6               vs.                              2:00 p.m. to 2:45 p.m.

     7   LUKOIL PAN AMERICAS, LLC, et al.             Pages 1 to 28

     8         Defendants.
         ______________________________________________________________
     9

   10                              MOTION HEARING
                        BEFORE THE HONORABLE DARRIN P. GAYLES
   11                       UNITED STATES DISTRICT JUDGE

   12    APPEARANCES:

   13
         FOR THE PLAINTIFF:           STEVEN DAVIS, ESQ. and
   14                                 STEPHEN N. ZACK, ESQ.
                                      BOIES SCHILLER FLEXNER, LLP
   15                                 100 S.E. 2nd Street
                                      Suite 2800
   16                                 Miami, Florida 33131
                                             -and-
   17                                 GEORGE F. CARPINELLO, ESQ.
                                      BOIES SCHILLER FLEXNER, LLP
   18                                 30 South Pearl Street, 11th Floor
                                      Albany, New York 12207
   19

   20    STENOGRAPHICALLY REPORTED BY:

   21                                 PATRICIA DIAZ, FCRR, RPR, FPR
                                      Official Court Reporter
   22                                 United States District Court
                                      400 North Miami Avenue
   23                                 11th Floor
                                      Miami, Florida 33128
   24                                 (305) 523-5178

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     1             (Call to the order of the Court.)

     2             THE COURT:    Please be seated.

     3             COURTROOM DEPUTY:     Case number 18-20818-CV-Gayles,

     4   PDVSA Litigation Trust versus Lukoil Pan Americas, LLC, et al.

     5             Counsel, please state your appearance for the record.

     6             MR. DAVIS:    Good afternoon, Your Honor, Steve Davis,

     7   Boies Schiller and Flexner.       With me is Steve Zack and George

     8   Carpinello, also of Boies Schiller and Flexner.

     9             Mr. Carpinello is in our Albany office.

   10              THE COURT:    All right.    Good morning.    The case is

   11    sealed Patty, so this will be sealed as well.

   12              We are here pursuant to the motion for a temporary

   13    restraining order and, obviously, I have reviewed the

   14    complaints with the attachments and the motion.

   15              The merits seem fine.      There is a very basic problem.

   16    The complaint is what qualifies as a shotgun pleading because

   17    each count reincorporates all the preceding allegations, which

   18    is impermissible and, I mean, I've issued orders on it.           The

   19    Eleventh Circuit has said pretty clearly it's a shotgun

   20    pleading, so the complaint as it is cannot stand for that one

   21    failed deficiency.

   22              Presumably that's something that can be corrected

   23    pretty quickly.

   24              MR. DAVIS:    Yes, Your Honor.

   25              THE COURT:    So, while I have you here, I do want to
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     1   talk about the relief that you are requesting as well.

     2              The restraint or restoring evidence -- the preservation

     3   is fine.    I am having more difficulty with the asset freeze and

     4   the seizure.    Those seem to be pretty extraordinary,

     5   particularly for this kind of case because, quite frankly, that

     6   doesn't happen in this type of case where the Government agency

     7   isn't involved.     The company's -- I know there are different

     8   categories of companies here but at least the corporate

     9   defendants, most of the corporate defendants, the -- I guess

   10    the oil company defendants, the banks, I mean, obviously, are

   11    legitimate businesses.       I know it seems to be focused more, the

   12    request for the seizure and the asset freeze, on the, what you

   13    refer to as the Morillo defendants but even that seems to be

   14    pretty extraordinary, so if any of you want to talk about that,

   15    please.

   16               MR. DAVIS:   Yes, Your Honor, Mr. Carpinello is

   17    intimately familiar with the facts and would be best to address

   18    them with the Court.

   19               MR. CARPINELLO:    Your Honor, good afternoon.      The

   20    reason, and you are correct that we are limiting it solely to

   21    the group of individuals in Miami and their, what we believe to

   22    be various very closely held shell companies and the reason we

   23    are asking for the -- we don't want to literally seize their

   24    records.    What we'd like to do and what the order contemplates

   25    and it actually was based upon an order out of the Southern
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     1   District in other computer theft cases is to have access so

     2   that we can download the information before it's destroyed.

     3             These individuals -- we know from the materials that we

     4   have been able to get so far, and we've attached a couple of

     5   documents as exhibits, I believe it's P to the complaint --

     6   operate in a scheme of using aliases, instructing people not to

     7   retain documents.      We believe that this scheme involves

     8   widespread bribery of officials in Venezuela.

     9             Two individuals, two of the defendants were arrested

   10    last Thursday by Swiss authorities in Switzerland.          One is

   11    being held under a three-month detention now and is under

   12    interrogation by Swiss prosecutors based upon a reasonable

   13    belief that what we are dealing with is an international

   14    criminal conspiracy, so these are not individuals that would

   15    respond to a normal Rule 26 request for documents.

   16              THE COURT:    But pursuant to that criminal case, have

   17    these same records been seized?

   18              MR. CARPINELLO:     Good question.    What's been seized --

   19              THE COURT:    I always presume all my questions are good.

   20              MR. CARPINELLO:     Well, it's something I should have

   21    brought up myself.

   22              They actually did seize a computer and some hard copy

   23    documents in Geneva Switzerland but the information we

   24    received -- actually, we just received a prosecutors's report

   25    just literally on our way over here about 20 minutes before we
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     1   got here that the testimony is that the primary server for this

     2   enterprise is actually located in Miami, not in Geneva.

     3             We believe it's probably either at the Helsinge offices

     4   at Brickell Avenue, which is a rented office in that building

     5   on 1221 Brickell Avenue or at the homes of one of the

     6   individuals.

     7             They are not aware that we have commenced this

     8   proceeding.    They are aware of the Swiss proceedings.         The

     9   individuals in Switzerland have retained counsel, so we are

   10    certain that Morillo and Baquero, the two ringleaders, if you

   11    will, are aware of the criminal proceedings in Switzerland but

   12    are probably not aware of this filing.

   13              THE COURT:    Are any of the defendants in this case

   14    aware of this pending lawsuit?

   15              MR. CARPINELLO:     We do not believe any of the

   16    defendants as of -- well, the only -- well, no, not even the

   17    individuals detained in Switzerland are aware of a civil

   18    proceeding here.

   19              So, we tried to fashion the TRO in a way that would not

   20    disrupt any business, gives them an opportunity to come into

   21    court immediately after they are served with the order to come

   22    into court and say we can't operate our business by these

   23    restraints, but what we do -- all we are asking for is to be

   24    able to get into these various premises and to get a copy of

   25    the records before they are destroyed.
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     1             THE COURT:    Okay.    But wouldn't a TRO ordering them not

     2   to destroy the records, wouldn't that accomplish that until

     3   they are served formally and I can hear from both sides for a

     4   preliminary injunction?

     5             MR. CARPINELLO:     We don't believe so because we don't

     6   think these are individuals who would follow a court order.

     7   First of all, they are Venezuelan nationals.         They -- I think,

     8   if they felt for a moment that the -- and they also have homes

     9   outside of Venezuela and the United States.         Mr. Morillo has a

   10    big -- I understand a big villa in Geneva.         Mr. Baquero has a

   11    big home in Madrid.      I think that once they learn of this

   12    lawsuit they will do two things.       They will try to secrete as

   13    many assets as they can outside of the United States, destroy

   14    the records here, leave for Venezuela or Europe, and I don't

   15    anticipate that they would honor a temporary restraining order,

   16    given the fact that what they are operating, as you can see in

   17    the complaint and Mr. Brennan's affidavit, they are operating a

   18    big rigging scheme, money laundering, massive bribery.           We are

   19    talking about millions of dollars in bribes being paid to

   20    people in Venezuela and to traders of these various large oil

   21    trading companies, international oil trading companies and I

   22    think the last thing they want, obviously, is for us or the

   23    Court to actually see the transactions that show the bribes and

   24    show these transactions.        So I think they would -- I think

   25    they'd rather incur the wrath of the Court and whatever result
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     1   that will entail rather than having these documents voluntarily

     2   disclosed.

     3             THE COURT:    Can you point to me any specific

     4   allegations within the complaint on which I could make a

     5   finding that they are likely to destroy evidence?

     6             MR. CARPINELLO:     Exhibit P is referenced in

     7   Mr. Brennan's declaration which is Exhibit A to the complaint,

     8   in which Mr. Brennan says, and I will get you the paragraph,

     9   Your Honor.

   10              THE COURT:    I'm sorry, we are talking about Exhibit A

   11    or Exhibit P?

   12              MR. CARPINELLO:     Exhibit A is the Brennan declaration.

   13    Exhibit P is the exhibit to the complaint, and he references

   14    Mr. Brennan in his declaration 51, given the nature of the

   15    conspiracy --

   16              THE COURT:    Hold on.   Let me get that.

   17              MR. CARPINELLO:     Given the nature of the conspiracy and

   18    the brazen criminal acts already committed, I have no doubt

   19    that the key players in this conspiracy will attempt to destroy

   20    the records and secrete assets as soon as they learn of this

   21    proceeding.

   22              Attached as Exhibit P to the complaint are several

   23    e-mail exchanges between Morillo and various co-conspirators in

   24    which they referenced deleting the e-mail messages.

   25              I will also point out to you, Your Honor, that the
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     1   complaint references in several place.        I don't have it at my

     2   fingertips the paragraph but that they operate their business

     3   through a number of fictitious names, that every Morillo,

     4   Baquero, the individual who set up the computer connection to

     5   hack into the PDVSA computers, Mr. Liendo, a fellow by the name

     6   of Rene Pecker, who is an inside person or bribed PVDSA

     7   employee.    They all operate and communicate primarily with

     8   aliases so as to evade a paper trail.

     9             We believe there is no question that if they learn of a

   10    civil proceeding here that they will delete all records, most

   11    especially probably the records that show that they are making

   12    massive bribes through a half a dozen Panamanian shell

   13    companies through PDVSA employees.

   14              THE COURT:    So, I mean, there is a pretty good amount

   15    of evidence here.      I mean, the most crucial evidence perhaps is

   16    the information that came from the plaintiff's servers, in that

   17    you already have so much evidence of the bad conduct that you

   18    allege, I mean, why is what would normally be a pretty

   19    extraordinary type of relief be warranted here?          I mean, it

   20    seems like you already have a case, as does the Government in

   21    Switzerland you said.

   22              MR. CARPINELLO:     Well, there are three reasons, Your

   23    Honor.

   24              First, as Mr. Brennan accounts in his declaration, most

   25    of the e-mails are from the early 2000s, and the reason for
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     1   that is that we were able to get access through Mr. Morillo's

     2   estranged wife who provided Mr. Brennan with the hard drive

     3   from the computer that both husband and wife had used in which

     4   Mr. Morillo recorded all his early transactions.

     5              THE COURT:   Right.   Don't you already have crucial

     6   information there?

     7              MR. CARPINELLO:    We had enough to believe there was a

     8   conspiracy going on, clearly, but we don't have documents from

     9   after 2006 to today.      We have a few documents that we were able

   10    to obtain through the assistance of government officials in

   11    Venezuela, but we don't have the massive amount of documents

   12    from 2006 to today to establish both that it's ongoing and the

   13    amount of damages.

   14               The damages will depend upon the number of contracts

   15    which were rigged, and I can explain how they actually rigged

   16    the bid.    It was actually apparently an ingenuous scheme, but

   17    basically they conspired with these oil companies to bid rig by

   18    colluding among themselves.       They also were able to, with the

   19    help of Mr. Becker and others in Venezuela, rig the bids to

   20    their favors in terms of delivery dates and that kind of thing

   21    well before the others learned.       And they got all the bids of

   22    all competing bidders, so it was not an actual competitive bid

   23    because these bribed employees gave them computer access to all

   24    PDVSA computer communications, so they knew exactly how others

   25    were bidding.
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     1              We know that they were doing that in 2005 or 2006.         The

     2    scheme started in roughly 2004.       We know they were doing it in

     3    2005, 2006.    We believe they are still doing it.       Why?   Because

     4    Mr. Thackray, who is a computer expert, was in Venezuela,

     5    reviewed the computers.     He was limited in what he could view

     6    because some of these bribed officials impeded his way but

     7    Mr. Thackray was able to determine that up to today that, for

     8    example, Mr. Ryan who is in custody in Switzerland, was

     9    accessing illegally the PDVSA computers even up to last fall

    10    and early winter when Mr. Thackray was there.

    11              But to establish our case, we are going to need to see

    12    what contracts were the subject of bid rigging, what contracts

    13    did they have an unfair advantage.       We want to establish up to

    14    today, which we believe that they have had -- they have

    15    violated several federal and state computer laws and wiretap

    16    laws, and to establish the actual amount of those damages.

    17              We believe that once they learn of this case, the

    18    evidence from 2006 to today, which is 11 years, will be gone.

    19              THE COURT:   So, the laptop that was kept by

    20    Mr. Morillo's ex-wife, there is no time frame given.          When did

    21    he get that hard drive from Ms. Morillo?

    22              MR. CARPINELLO:    Roughly, the middle of 2017.       This has

    23    been an ongoing investigation for several months involving

    24    undercover operations, visiting several countries, surveilling

    25    residences and businesses in several places to establish -- we
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     1    wanted to be very -- obviously, these are serious allegations

     2    and we wanted to be very careful.       Mr. Brennan formerly of

     3    Scotland Yard is a thorough professional and he was given the

     4    hard drive.

     5               We reviewed -- in fact, literally thousands of pages

     6    were reviewed by our firm and another firm.        We put together an

     7    analysis of all the connections between Morillo and Baquero and

     8    the Panamanian companies and the individuals in Venezuela.          So,

     9    this has been a several month review.       It's not an overnight

    10    thing, but we don't -- as I said, we don't have up -- anywhere

    11    near complete records for the last couple of years.         Other than

    12    that, we have been able to establish they are still doing it,

    13    but we don't have all the intimate communications that we have

    14    for the early years.

    15               We had identified, for example, there is contracts from

    16    the 2004, 2006 time frame that were affected by this bid

    17    rigging.    And we actually have bank records from 2004 to 2006

    18    that show payments being made to people in Panama under

    19    suspicious accounts.     For example, Mr. Becker, who received

    20    probably the biggest bulk of the bribes, the money is sent to

    21    an account in the name of Becker's father-in-law, so it's not

    22    traced directly to him.

    23               So, for a few years we have all that banking activity

    24    but we are missing the activity for that period of time.          That

    25    we believe is on a laptop or on a server that Mr. Morillo has
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     1    and Mr. Baquero has, and we are confident this that will

     2    disappear, totally disappear once they learn about this case.

     3    At the very least it will be secreted and will be undoubtedly

     4    manipulated if we ever get access to it.

     5               THE COURT:    A purely -- I mean, it's not unusual in a

     6    purely civil case to involve the U.S. Marshals and seizures.           I

     7    mean, is that what you are asking me?

     8               MR. CARPINELLO:    Well, that's what the Court ordered in

     9    Dell versus Belgian Domains, 2007 WL686341, which is actually

    10    where we took the order from, the body of the order that deals

    11    with the seizure and freezing aspects, mostly the seizure

    12    aspects.

    13               I don't recall whether there was a freezing of accounts

    14    in that case but certainly the seizure aspect, the involvement

    15    of the U.S. Marshals, the entering the premises was all based

    16    on the order in that case.

    17               That's a November 21, 2007, decision.      So, before we

    18    crafted this order we wanted to see what was the precedence in

    19    this district before we asked for relief, and that was a case

    20    involving a theft, I believe a theft of information also,

    21    computer theft.

    22               THE COURT:    I'm sorry, was it 2007?

    23               Did you say 2007 or 2017?

    24               MR. CARPINELLO:    2007, Your Honor.    I believe the order

    25    is in the docket.       We went to the docket in this case on PACER
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     1    and we got the TRO order.      I don't believe it's actually in

     2    the --

     3              THE COURT:   What was the actual --

     4              MR. CARPINELLO:    I apologize.    It actually is here.

     5    It's page -- on my copy it starts on page six.

     6              THE COURT:   You mean cited in your motion?

     7              MR. CARPINELLO:    No, I'm sorry, in the opinion.      I am

     8    looking at the opinion itself.      I can pass up the opinion.

     9    Maybe that will help.

    10              THE COURT:   Maybe that will make it easier if you hand

    11    it up.

    12              MR. CARPINELLO:    If you look at the start on page six,

    13    I think that is the order, Judge.

    14              THE COURT:   I will just take a moment.

    15              MR. CARPINELLO:    Could I add one more point?      I said

    16    there were three reasons.      I only gave you two.

    17              The third reason is we believe there are other

    18    individuals involved in this conspiracy that were not on the

    19    scene in 2004 to 2006, just a wide-ranging conspiracy.          There

    20    may be other defendants that we would want to add, including

    21    other oil trading companies and other individuals working with

    22    Morillo and Baquero.

    23              It's unlikely this scheme could have been worked out

    24    without more individuals.      We have a snapshot in time and as we

    25    say, it's quite certain it's continuing but to get the records
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     1    we would then be able to establish the other independent

     2    defendants and also what other banks they are using, because

     3    these are individuals that are constantly changing names of

     4    entities, going from one bank to another.

     5              If you noticed in the complaint, there is at least

     6    three Helsinge companies, entities.       We learned from the Swiss

     7    papers today we think there is actually four or five now.          So,

     8    we are -- we've got a moving target here in terms of who the

     9    actual defendants are, who the accomplices are, which banks

    10    they are using today.     That's all the reasons why we need to

    11    get to see the records up to date.

    12              THE COURT:   Regarding the seizure of records, I mean,

    13    obviously the concern is if you allow one party in a civil case

    14    to see records and there may be unrelated information there, it

    15    may give some other party an unfair advantage.

    16              The problem isn't there with the government because the

    17    government is not a competing party, a competing business.          But

    18    in this case, I am assuming they will come into court and they

    19    will say they are upset because we are cutting into the market

    20    share and the market dominance, and that's why this is

    21    happening and the Court -- and now, Judge, now you have given

    22    them information that they are not entitled to have because it

    23    goes far beyond what one would be able to get in discovery.

    24    So, why -- how would --

    25              MR. CARPINELLO:    We are not a competitor.      We are not a
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     1    competitor.    In fact, that would have been an argument in the

     2    Dell case because I believe they were competitors and the Court

     3    granted the order anyway.      We are not a competitor.     We are a

     4    trust that was created to get the money back to the people of

     5    Venezuela through -- we are a U.S. trust created to bring the

     6    claims being held by PDVSA, which is the Venezuelan oil

     7    company, the one that was cheated by this conspiracy, the one

     8    that was the victim of the bid rigging, the one that was the

     9    victim -- and I will add, there is not just bid rigging but

    10    they also just plain cheated the company by making short

    11    deliveries and not making full payment on all series of

    12    contracts.    How were they able to do that?      Because they bribed

    13    certain officials down in Venezuela.

    14              So, there is no fear that we are going to gain some

    15    competitive information because, as I say, we are the victim.

    16              I do want to add that in terms of victim, not just

    17    PDVSA was a victim but numerous American trading companies were

    18    shut out of a lot of these bids because of this bid rigging.

    19    In other words, the companies that bid honestly didn't get bids

    20    because these guys saw their bid and just bid high enough to

    21    get it or in terms of selling, you know, just low enough to get

    22    them because this happened while buying and selling.

    23              THE COURT:   To your knowledge, is there a criminal

    24    investigation, a U.S. investigation going on by either in the

    25    Southern District or elsewhere?
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     1              MR. CARPINELLO:    Indictments were issued in Houston,

     2    Southern District of Texas, involving a very similar activity.

     3    We don't know of a connection yet.       We just learned of this

     4    case, the Houston case about a week, week and a half ago

     5    involving a very similar scheme.       Individuals who were selling

     6    products to PDVSA were getting sweetheart deals because they

     7    had bribed officials at PDVSA.      As I said, we don't know yet if

     8    there is an intersection between that group and this group.

     9              THE COURT:    Okay.   And the asset freeze, that was

    10    another question I had, whether or not -- why that was

    11    appropriate here?      Is it just generally because they may

    12    secrete assets?

    13              MR. CARPINELLO:    We think that as soon as they learn of

    14    the case the funds will be gone.       It's not like somebody who's

    15    -- you know, we know where they are.       These people travel in

    16    private jets all over the world, so we anticipate -- and they

    17    have counsel all over the world.       In fact, we just learned on

    18    our way over here that the prosecutors have learned that

    19    another -- we had listed four bank accounts from three

    20    defendants and Credit Swiss who are not a defendant but also

    21    have an account.

    22              We also learned that apparently they now have an

    23    account at JP Morgan Chase, which we were unaware, and we also

    24    learned that they are seeking to get a banking relationship

    25    with three other Swiss banks.      They were doing that at the time
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     1    they were arrested.     They are trying to get either a line of

     2    credit or open an account with three other banks.

     3              So, this is a pattern that they have engaged in over --

     4    we know that even over the period of time that we had records

     5    that they used several different banks, obviously, to avoid

     6    detection by any kind of investigators of any kind, you know,

     7    moving accounts from bank to bank.

     8              So, we are not dealing with a reputable American

     9    company that we would expect to respond to service and to an

    10    order of the court and would also not attempt to evade a

    11    judgement.    We are not dealing with that at all.       We are

    12    dealing with individuals, Venezuelan nationals who have

    13    international connections with some very unsavory people and

    14    who would not hesitate for a minute to withdraw funds from

    15    moneys they have in Florida and move elsewhere.

    16              We are not asking to execute on them.       We are asking

    17    the Court to freeze them, and, again, the order provides for

    18    them to come into court and say we need this account in order

    19    to do business.    We need this money to do business.       If Your

    20    Honor decides that they need that money to do business and this

    21    would be unfair to inhibit them, you can always, always lift

    22    the freeze.

    23              So, they could come in here tomorrow and say you have

    24    frozen our accounts.

    25              By the way, if we are able to freeze the accounts in
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     1    Florida, that is certainly nowhere near all the assets these

     2    people have.

     3              We know, for example, they do business with banks in

     4    Venezuela.    They do business with European banks.

     5              So, I would suspect they probably have ready resources,

     6    and these are not poor people.      These are highly wealthy

     7    people.

     8              So, if they're frozen, if they're frozen, the order

     9    provides for them to immediately come into court and seek to

    10    lift it in order to gain access to their account.

    11              THE COURT:   So, specifically when there is an asset

    12    freeze, you know, in a government case like an FTC or an SEC

    13    case, the Government establishes that there are victims that

    14    were defrauded, you know, and that the actual business model

    15    was fraudulent, so to the extent that they are able to identify

    16    any assets, there is a justification to freeze it, or in a

    17    purely civil context where someone has stolen funds belonging

    18    to one entity or misappropriated funds and they are able to

    19    identify the accounts where they are, there might be a reason

    20    to freeze those accounts so they are not dissipated.

    21              It sounds like here that it is solely -- your request

    22    is solely in the event of possible damages.        Is that why you

    23    are asking me to do this?

    24              MR. CARPINELLO:    No, not money -- well, certainly we

    25    ask for money damages in the normal course, but also we are
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     1    asking for disgorgement of ill-gotten gains, and we do have

     2    victims.    The victim is really, indirectly, the Venezuelan

     3    people.    The direct victim, of course, is PDVSA and the trust

     4    was created to obtain the funds, but we clearly have victims

     5    because the country, the people have been defrauded by

     6    literally billions of dollars in revenue from these

     7    individuals, the way they have run the schemes because of their

     8    bid rigging and they are not paying on, you know, shorting of

     9    supply or shortage of payments.

    10               So, it's to preserve the funds so that if a judgment is

    11    entered -- and I think we have cited several cases, Your Honor,

    12    actually in our brief, in our motion, where the courts in this

    13    district have ordered asset freezes where there is a request

    14    for equitable relief.     And, clearly, there is equitable relief

    15    requested here, and that is disgorgement of the ill-gotten

    16    gains.

    17               So, we think we are well within the caselaw.       I think

    18    we have cited five or six cases in our motion where courts in

    19    the Southern District and in the Middle District of Florida

    20    have ordered asset seizures.

    21               THE COURT:   Okay.   Anything else?

    22               MR. CARPINELLO:   One more thing, Your Honor.      If Your

    23    Honor is inclined to sign the order, we ask that you just add

    24    to the -- because we just learned this moments ago.         There is a

    25    paragraph in the order referencing four banks.         If we can add
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     1    in JP Morgan Chase as we just learned that they have an account

     2    there.

     3              I would also add that if Your Honor is inclined not to

     4    allow us entry that the very least that the Helsinge office be

     5    ordered sealed so that no one could gain entry and destroy it.

     6    Now, I think that's probably not adequate relief and I will

     7    tell you why, Judge.

     8              Number one, we are not sure where the server is.          As I

     9    said before, the Swiss authorities believe that the server is

    10    located, and they interrogated a witness today who said his

    11    belief was that the server is in Miami.        It's not adequate

    12    because there are several locations, including several

    13    residences that these individuals have, not their permanent

    14    home but on the Santa Maria towers, for example, on Brickell

    15    Avenue.

    16              We are not sure which residence has it, but we are

    17    quite confident that being the sophisticated people they are,

    18    they can probably remotely delete records even if you order

    19    that the facilities be closed off.       They obviously have remote

    20    access and they can remotely delete all the records while the

    21    doors are sealed.

    22              I thought that out, but I don't think -- I believe it

    23    would be a highly ineffective remedy for us, Your Honor.

    24              THE COURT:   I know one of you has a flight.       I am

    25    assuming in an hour the complaint will be amended to fix the
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     1    shotgun pleading issue.

     2              I think, perhaps, you need to add that there are

     3    additional banks that you want my order to cover that you add

     4    whatever appropriate language you need.

     5              MR. CARPINELLO:    Can we ECF it on a sealed case or

     6    should we have it hand-delivered?

     7              THE COURT:   No, you can file even if the case is still

     8    sealed.   We will be here today waiting for it.

     9              I'm still trying to figure out the mechanics of it.

    10    Perhaps from the clerks you have to file another motion to

    11    amend the sealed pleading, which is fine, but in addition to

    12    the ECF filing, if you e-mail my clerks a Word version of the

    13    order, you know, contemporaneous with the filing of the amended

    14    complaint, then we will --

    15              MR. CARPINELLO:    Just to be clear, Judge, what you want

    16    corrected on the complaint is that with regard to each count

    17    you want all factual allegations that support that count in

    18    that count rather than simply reassert and reallege the

    19    allegations.

    20              THE COURT:   You can't -- you can reallege all those

    21    basic facts that -- the underlying facts for all the counts,

    22    but you can't reallege all the preceding paragraphs for Count 2

    23    going forward because by doing that you are incorporating

    24    counts which you can't do.

    25              MR. CARPINELLO:    Okay.   So, if I reallege, just to
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     1    be --

     2              THE COURT:   Reallege them by number, excluding the

     3    numbers associated with the proceeding.

     4              MR. CARPINELLO:    Okay.   I understand, Your Honor.

     5              MR. DAVIS:   So, Judge, just procedurally, would you

     6    give me then the e-mail address or offline give me the e-mail

     7    address I need to e-mail that to?

     8              THE COURT:   It's the general Gayles@flsd.uscourts.gov,

     9    but you can talk to my clerk here once we conclude.

    10              MR. DAVIS:   The normal practice is that we have to

    11    bring in the motion to seal and the sealed documents to the

    12    clerk, which obviously we will do, and --

    13              THE COURT:   So, the procedure for the clerk -- and I

    14    think you need to submit a hard copy as well because you need

    15    my signature on it in order to grant the motion to seal.

    16              So, you will do that.

    17              MR. DAVIS:   Yes, Your Honor.

    18              THE COURT:   You need to do that because for us to get

    19    working quickly on it, it's better for you to e-mail us a Word

    20    version of the proposed order so that we can make whatever

    21    edits are appropriate.

    22              There are two separate things.

    23              You follow the normal procedure with the clerk and

    24    deliver a hard copy that needs to be signed granting the motion

    25    to seal but also send an e-mail copy directly to my clerks.
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     1              MR. DAVIS:   Thank you, Your Honor.

     2              (Proceedings were concluded at 2:45 p.m.)

     3
                                  C E R T I F I C A T E
     4

     5
                     I hereby certify that the foregoing is an
     6
          accurate transcription of the proceedings in the
     7
          above-entitled matter.
     8

     9

    10    March 14, 2018         /s/Patricia Diaz     _______
          DATE                   PATRICIA DIAZ, FCRR, RPR, FPR
    11                           Official Court Reporter
                                 United States District Court
    12                           400 North Miami Avenue, 11th Floor
                                 Miami, Florida 33128
    13                           (305) 523-5178

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